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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    8:16CR204

       vs.
                                                                       ORDER
CRAIG HOLCOMB,

                      Defendant.


       This matter is before the Court on the defendant’s Motion to Review Detention (Filing
No. 55). The Court previously received a Motion to Review Detention (Filing No. 48), which
was denied without hearing. (See Restricted Order [49]). The defendant’s most recent Motion
to Review Detention does not contain additional information that would cause the Court to
reconsider its previous Order on the matter. Therefore, for the reasons stated in Restricted Order
(Filing No. 49), the defendant’s Motion to Review Detention (Filing No. 55) is denied without
hearing.
       IT IS SO ORDERED.


       Dated this 26th day of September, 2016

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
